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                   United States District Court
                                CIVIL MINUTES - GENERAL


Time: 11:02 - 11:12 a.m.                                              Case # 4:18cv526-MW
Date November 14, 2018


                           DSCC et al v. KENNETH W DETZNER

DOCKET ENTRY: TELEPHONIC STATUS CONFERENCE held. Parties discussed status of
case. Ruling by Court: Charles Cooper’s ore tenus motion to appear pro hac vice is granted.
Defendant’s response to motion for preliminary injunction due by 9:00 a.m. on 11/15/18.
Plaintiff’s reply due by 11:00 a.m. on 11/15/18.


PRESENT:     HONORABLE MARK E. WALKER, CHIEF U. S. DISTRICT JUDGE

                      Victoria Milton McGee                 Megan Hague
                          Deputy Clerk                      Court Reporter



ATTORNEY(S) APPEARING FOR PLAINTIFF(S):
Marc Elias

ATTORNEY(S) APPEARING FOR DEFENDANT:
Mohammad Jazil

ATTORNEY(S) APPEARING FOR INTERVENOR DEFENDANT NATIONAL
REPUBLICAN SENATORIAL COMMITTEE:
Charles Cooper


                                                                Initials of the Clerk: VMM
